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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:06-cr-00038-MP-AK

MARK IVAR MYHRE,
PAUL DAVID MYHRE,
JOHN MICHAEL LOWRY,
ALAN JESSE CROSSLEY, and
AARON MASSIE,


      Defendants.
___________________________/

                                           ORDER

       This matter is before the Court on Docs. 66 and 68, two motions to continue the trial in

this case, currently set for Tuesday, January 2, 2007. A telephone conference was held on

December 8, 2006, in which the Assistant United States Attorney, and counsel for Mark Myhre,

John Lowry, Alan Crossley and Aaron Massie participated. Each of those counsel consented to

the motion and thereby waived his client's speedy trial rights with regard to this continuance.

Counsel for Paul Myhre authorized Mr. McMahon to represent to the Court that Paul Myhre also

consented to the continuance and thereby waived his speedy trial rights with regard to the

continuance. Accordingly, the motions at doc. 66 and 68 are granted, and the trial of all

defendants is hereby continued until Tuesday, February 6, 2007.

       DONE AND ORDERED this 8th day of December, 2006


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
